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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                 :
 JOHN DOE,                                       :
                              Plaintiff,         :
                                                 :
                        v.                       :
                                                 : Civil Action No. 1:18-CV-553-RMC
 THE GEORGE WASHINGTON                           :
 UNIVERSITY,                                     :
                                                 :
                              Defendant.         :
                                                 :

                         NOTICE OF DISMISSAL WITH PREJUDICE

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff John Doe, with the

 consent of all parties, hereby gives notice that this matter is to be voluntarily dismissed with

 prejudice.



 Dated: March 18, 2019


/s/__ Justin Dillon ____________              /s/_Joshua W. B. Richards ____________
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